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                                                                   Page 15
 1           Q.   Okay.

 2           A.   But whatever, it's fine.

 3           Q.   A patrol officer or uniformed officer.

 4           A.   Yeah.

 5           Q.   How often did you have the occasion to

 6    respond to this hotel?

 7           A.   As a patrol officer, it was my area, so

 8    I can't really guess a number.              I was -- I was in

 9    that area all the time.

10           Q.   So was there anything that stood out to

11    you that would make        you recall responding to this

12    hotel?

13           A.   I can -- I can recall a couple incidents

14    involving drugs, but as a uniformed officer, I

15    wasn't -- I wasn't trained in any special victim,

16    so that's not something that sticks in my mind.

17    It was an area that I worked.

18           Q.   What other -- how would you describe the

19    crime in that area?

20           A.   Around the hotel or --

21           Q.   Yeah.

22           A.   -- just in the precinct?             It was

23    typically drug and prostitution and gang

24    activity.

25           Q.   How often did you respond to that hotel




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                                                                   Page 17

 1    most important at the time.             This is an area that

 2    I was going to frequent.            It was an area that I

 3    was assigned to most frequently, and having the

 4    one joint on him versus a large amount of

 5    marijuana, at the time, learning the area was

 6    more important than arresting someone for a tiny

 7    amount of marijuana.

 8           Q.   Well, if this was a high-crime

 9    activity -- or high-crime area that you describe

10    with drugs --

11           A.   Uh-huh.     (Affirmative).

12           Q.   -- prostitution and gang activity, did

13    you not believe, at the time, that it was

14    important to make arrests for any of those

15    offenses?

16           A.   For marijuana versus the drugs, the

17    cocaine in the white substance is the one that I

18    made an arrest for,         but the marijuana, at the

19    time, was not one that I made an arrest for.

20           Q.   So the cocaine arrest, that was for the

21    first one you described, correct?

22           A.   Yeah, yes.

23           Q.   And what year was this?

24           A.   It would have been between '11 and '15,

25    probably in the '11 year.            Those were -- I'm




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                                                                    Page 18

 1    saying that because they're significant to me,

 2    and I was a beginning officer.

 3           Q.   Okay.      How far is the precinct from this

 4    hotel?

 5           A.   Less than three miles.

 6           Q.   How about gang activity while               you were a

 7    patrol officer or uniformed officer at this

 8    hotel?

 9           A.   It was known to be a gang area.                 You

10    could see people with different bandannas on the

11    back, but that was not an area that I had any

12    expertise in.

13           Q.   Did you have any training on that?

14           A.   Maybe basic training in the Academy.

15           Q.   So what made       you understand that the

16    bandannas had a significance?

17           A.   Just common knowledge from working, from

18    hearing from the gang detectives about things to

19    look for --

20           Q.   And what, if any --

21           A.   -- look for.

22           Q.          instructions were       you given as a

23    patrol officer as to what you should do?

24           A.   Just mark it.        You could report it to

25    narcotics or to the gang unit.




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                                                                   Page 20
 1    get promoted, or you were no longer a uniformed

 2    officer?

 3           A.   In 2014, I believe.

 4           Q.   Okay.     So between 2011 and 2014 what was

 5    your basis of knowledge that there was a drug,

 6    prostitution and gang activity problem at this

 7    hotel?

 8           A.   It's just what is taught to you by your

 9    supervisors when you're beginning your role as a

10    uniformed officer.         These are where our gangs

11    are.     These are where our VICE Unit is often.

12    You may be asked to assist there.                These are just

13    the types of things that we did as a uniformed

14    officer.

15           Q.   Do you ever recall assisting VICE during

16    this time period at this hotel?

17           A.   I don't recall, but that question is

18    similar to, like, asking what you had for lunch.

19    My call sheet for a day might be, like, 35 -- 35

20    instances a day.        So I don't -- nothing --

21    nothing significant to me stands -- stood out,

22    except for the ones that I shared.

23           Q.   How about the other motels in the area?

24    How close by -- tell me -- identify which hotels

25    are close by to the one we're talking about
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                                                                    Page 21
 1    today.

 2           A.   I don't know what it's called now, but

 3    there used to be a Knights Inn opposite of this

 4    location, Super 8, America's Best.                   On the other

 5    side, there's a Motel 6 -- or was a Motel 6 and a

 6    Masters Inn.

 7           Q.   Any other ones you can recall?

 8           A.   No, I think that's all right there at

 9    that intersection.

10           Q.   Were you told the same information about

11    these two other motels about drugs, prostitution

12    and gang activity?

13           A.   Yes.

14           Q.   Were there any other businesses or

15    apartment complexes or residential areas that

16    were also included in a high-crime area

17    description, if you will?

18           A.   In general?

19           Q.   In general.

20           A.   There is an area on Candler Road.                  It's

21    not an area that I worked in uniformed, but it's

22    a -- it's just common knowledge in DeKalb there's

23    a lot of crime in the area.             Police have to

24    respond often to that area.             There's another area

25    on Covington Highway.
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                                                                     Page 38

 1           A.     Yes.

 2           Q.     Okay.     And how did you become involved

 3    with her investigation?

 4           A.     VICE Unit conducted an operation.                 I

 5    believe they responded to an advertisement, and

 6    ended up at -- I don't know if it was Super 8 or

 7    America's Best at the time, I think Super 8.

 8           Q.     And do    you recall what year that was?

 9           A.     I don't recall, but it might be my

10    Declaration, if I can look at that.

11           Q.     Yeah, we'll get to         your Declaration in a

12    minute --

13           A.     Okay.

14           Q.     -- so we can look at that later.

15           Were    you still in this same unit?

16           A.     Yes.

17           Q.     Okay.     And actually before we get to

18    E.M.

19           How long did you stay in that unit?                   Well,

20    2015, and then what did you do?

21           A.     I was in the ICAC unit until 2017.

22           Q.     September 2017, I'm sorry.

23           A.     September.

24           Q.     Okay.     And then after that, did you

25    leave that unit, and where did you go?




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                                                                              Page 50
   1    W e ' v e b ee n g oi ng f or a l i tt le b it o f t im e.              We 'l l

   2    t a k e m a yb e a 1 0- mi nu te b r ea k.          Do es th at - - do es

   3    t h a t w o rk , T ri ni ty ?

   4                       M S . HU ND RE DM AR K :    Y ea h, o f c ou rs e.

   5                       T H E VI DE OG RA PH E R:    We a re no w go in g

   6    o f f t h e v id e o re co rd .        T h e ti me i s c ur re nt ly

   7    1 1 : 5 6 a .m .

   8                             (O ff -t he -r e co rd )

   9                       T H E VI DE OG RA PH E R:    We a re no w ba ck o n

  10    t h e v i d eo r e co rd .      T he t i me i s cu rr e nt ly

  11    1 2 : 0 5 p .m .

  12    B Y M S . GI LM O RE :

  13            Q.    Ms . G ib bs , I wa n t to s ho w y ou w ha t' s

  14    b e e n m a rk ed as D ef en da nt ' s Ex hi bi t 1 .

  15                       M S . HU ND RE DM AR K :    T ha nk s.

  16                       M S . GI BS ON :    I do n' t wa nt to t hr ow i t

  17    at you.

  18                       M S . HU ND RE DM AR K :    T ha t' s a ll r ig ht .

  19    B Y M S . GI LM O RE :

  20            Q.    An d a sk i f yo u c an r ev ie w t ha t an d te ll

  21    m e i f y ou 'v e e ve r se en o r r ev ie we d t hi s be fo re .

  22                        ( De fe nd an t' s E xh ib it 1

  23                  wa s m ar ke d an d i de nt if ie d)

  24            A.    Ye s , I' ve s ee n t hi s be fo re .

  25            Q.    Ok a y.       An d is t h is t he - - I g ue ss , th e
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                                                                          Page 51
   1    V I C E r e po rt co nc er ni ng E . M. a nd T re m ai ne J oh ns on ?

   2            A.      Ye s .

   3            Q.      Al l r ig ht .     A nd af te r re vi e w of t hi s,

   4    d o e s i t a pp e ar t ha t E. M. wa s in f ac t a rr es te d fo r

   5    p r o s t i t ut io n ?

   6            A.      If I ca n re ad t h e no te s th a t

   7    D e t e c t i ve J o hn so n -- s o a t th e to p o f th e

   8    N a r r a t i ve p o rt io ns o f ea c h pa ge , it ha s th e

   9    o f f i c e r w ho is w ri ti ng t h e re po rt h e re .

  10            S o D et e ct iv e Jo hn so n h as a n in i ti al

  11    N a r r a t i ve , i f I ca n re ad th at , is t h at w he re t he

  12    a r r e s t wa s m ad e?

  13            Q.      My qu es ti on t o y ou i s, d oe s t hi s re fr es h

  14    y o u r r e co ll e ct io n th at t h er e wa s an ar re st m ad e

  15    f o r p r o st it u ti on , an d E. M . wa s ar re s te d fo r th at ?

  16            A.      Le t m e re ad i t.

  17            Q.      Su r e, t ak e yo ur ti me .

  18            A.      Ye s , I se e in t h e Na rr at iv e t ha t E. M.

  19    w a s a r r es te d .

  20            Q.      Fo r p ro st it ut io n ?

  21            A.      Ye s .

  22            Q.      An d d o yo u kn ow wh at h ap pe n ed t o th os e

  23    charges?

  24            A.      No , I d on 't .

  25            Q.      Ok a y.    An d do es th is r ep or t a ls o re fr es h
Case 1:22-cv-03419-JPB      Document 115-8    Filed 12/08/23    Page 9 of 28
                                                                          Page 52
   1    y o u r r e co ll e ct io n th at E . M. g av e a f ak e da te o f

   2    b i r t h o r li e d ab ou t he r a ge ?

   3            A.    Ye a h, s he m us t h av e.      On t h e -- o n th e

   4    f a c e o f t hi s s he et i t ha s t ha t sh e' s l is te d as

   5    1 6 , s o pe rh a ps t ha t' s ne w i nf or ma ti o n af te r th e

   6    d e t e c t i ve r e al iz ed h er a g e.   If s he wa s ar re st ed ,

   7    i t d o e s n' t m ak e se ns e th a t he w ou ld ta ke h er t o

   8    t h e - - to t h e ja il .       I t h ad t o be b e ca us e he

   9    t h o u g h t s he wa s ol de r th a n 18 , or 1 8 - - 17 o r

  10    older.

  11            Q.    An d i s it y ou r u nd er st an di n g th at t hi s

  12    i n v e s t i ga ti o n wa s fo r pr o st it ut io n a nd n ot a t th e

  13    h o t e l i ts el f , co rr ec t?

  14            A.    Th a t th e in ve st i ga ti on w as ab ou t th e

  15    h o t e l , no .

  16            Q.    No , n ot a bo ut t h e ho te l.         I t wa s ab ou t

  17    p r o s t i t ut io n , co rr ec t?

  18            A.    Ri g ht , it w as a b ou t pr os ti t ut io n.

  19            Q.    Ok a y.    An d it w a s th e ad ve r ti se me nt , I

  20    g u e s s , on B a ck pa ge t ha t b ro ug ht t he m t o th is

  21    h o t e l ; is t h at c or re ct ?

  22            A.    Co r re ct .

  23            Q.    Ok a y.    So i s it yo ur u nd er s ta nd in g th at

  24    t h e o f f ic er s l ea rn ed E .M ' s co rr ec t a ge a nd t he n

  25    c a l l e d yo u?
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                                                                             Page 53
    1            A.        Ye s , th at 's w ha t i t se em s l ik e.      Th e

    2   d a t e o n t he in it ia l re po r t is 6 /9 /2 0 17 .

    3            Q.        Ok a y.

    4            A.        Th e re 's a c as e n ot e fr om T y ne r- Ed mo ns on ,

    5   w h o ' s a no th e r de te ct iv e i n th e IC AC un it , fr om

    6   t h e s a m e da t e, a nd s he 's ex pl ai ni ng wh at ev er

    7   i n f o r m a ti on sh e ha s at t h e ti me , an d t he n my c as e

    8   n o t e i s f ro m 6 /1 0, w he re my i nv ol ve m en t wi th

    9   t h e s e - - wi t h it o n ho w t he t ra ns it i on w as m ad e

  10    f r o m , o h, m a yb e VI CE m ad e a m is ta ke , t oo .          O ka y,

  11    l e t ' s t ry t o f ig ur e ou t w ha t' s wh at .

  12             Q.        Di d y ou r ev ie w a ny o f th e s ur ve il la nc e

  13    v i d e o f ro m t hi s ho te l fr o m th is p ar t ic ul ar

  14    i n c i d e n t?

  15             A.        Ye s .

  16             Q.        Ok a y.   An d wh en wa s th at ?

  17             A.        Le t 's s ee .

  18             Q.        An d M s. G ib bs , I w an t to s h ow y ou w ha t' s

  19    b e e n m a rk ed as D ef en da nt ' s Ex hi bi t 2 .          I b el ie ve

  20    t h o s e a re y o ur s up pl em en t al r ep or ts , s o th at m ay

  21    r e f r e s h y ou r - -

  22             A.        Ok a y.

  23             Q.        -- re co ll ec ti on as w el l.

  24                          ( De fe nd an t' s E xh ib it 2

  25                       wa s m ar ke d an d i de nt if ie d)
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                                                                            Page 54
    1           A.     Ye a h, t ha nk y ou .      I re vi ew e d th ei r

    2   s u r v e i l la nc e o n 6/ 9, s o t hi s is w he n - - on p ag e

    3   5 , I b e li ev e , so w e ex ec u te t he s ea r ch w ar ra nt a t

    4   t h e h o t el r o om .    W e' re t y pi ca ll y go i ng t o th e

    5   f r o n t d es k t o se e if t he r e' s an y pe r so n th at i t

    6   m i g h t b e re g is te re d -- w h o th e ro om is r eg is te re d

    7   t o , i f th ey ha ve s ur ve il l an ce .

    8           A l l of th os e qu es ti o ns u su al ly ha pp en a t th e

    9   s a m e t i me w h en w e re sp on d w it h th e - - wi th a

  10    s e a r c h wa rr a nt .

  11            Q.     So do y ou k no w h ow i t wa s t ha t an yo ne

  12    l e a r n e d o f E .M .' s tr ue a g e?

  13            A.     Le t 's s ee .   P ro b ab ly , in t h is i nt er vi ew

  14    w i t h m y se lf an d De te ct iv e E dm on so n.      L et 's s ee .

  15    A l l r i g ht , t hi s is 6 /9 /2 0 17 .

  16            Q.     Wh i ch e xh ib it a r e yo u lo ok i ng a t?

  17            A.     I' m l oo ki ng a t t he p ol ic e r ep or t.

  18    D e t e c t i ve T y ne r- Ed mo ns on ha s a ca se no te .         I s at

  19    w i t h t h is i n te rv ie w -- o n t hi s in te r vi ew w it h

  20    her.

  21            Q.     An d i t' s Ex hi bi t 1 , co rr ec t , De fe nd an t' s

  22    Exhibit 1?

  23            A.     Ye s .

  24            Q.     An d w ha t pa ge a r e yo u on ?       Yo u ca n lo ok

  25    a t t h e --
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                                                                             Page 55
    1            A.     On e -, t wo - -

    2            Q.     -- nu mb er - -

    3            A.     -- th re e --

    4            Q.     -- on t he b ot to m .

    5            A.     It ' s pa ge 3 13 3.

    6            Q.     Gr e at , ok ay .

    7            A.     So at t hi s ti me , D et ec ti ve

    8   T y n e r - E dm on s on i s wr it in g i n he r ca s e re po rt t ha t

    9   E . M . i s 1 6 y ea rs o ld , so it w ou ld h a ve b ee n

  10    d u r i n g th is in te rv ie w wi t h he r.        Le t 's s ee .

  11             Q.     An d t he n wa s th a t th e in fo r ma ti on t ha t

  12    w a s p a s se d o n to y ou ?

  13             A.     Ye s , I be li ev e I s at i n on th is

  14    i n t e r v i ew w i th h er .

  15             Q.     Wo u ld t ha t be r e fl ec te d in ei th er h is

  16    r e p o r t or y o ur r ep or t?

  17             A.     Pr o ba bl y, s om ew h er e.    Le t m e se e.      I' m

  18    s o r r y , it 's be en a w hi le si nc e I' ve se en t hi s.

  19    T h e p o l ic e r ep or t, 3 13 7, my c as e no t e at t he t op ,

  20    t h i s i s c as e n ot e EM G3 09 3 , I sa t wi t h De te ct iv e

  21    E d m o n d s on .   Th is i s du ri n g th e in te r vi ew .

  22             S o i t s ay s th at I s a t wi th h er wh en s he

  23    i n t e r v i ew ed Mr . Jo hn so n, bu t I' m pr e tt y su re I

  24    s a t w i t h he r d ur in g E. M. as w el l.           I d on 't k no w.

  25    L e t ' s s ee .
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                                                                            Page 56
    1            Q.        So al th ou gh , it sa ys t ha t - -

    2            A.        It sa ys , De te ct i ve E dm on ds o n in te rv ie we d

    3   E . M . o n 6 /9 / 20 17 .       I s at wi th D et ec t iv e Ed mo nd so n

    4   w h e n s h e in t er vi ew ed M r. Jo hn so n.

    5            Q.        An d i t lo ok s li k e th e ca se wa s

    6   r e a s s i g ne d t o yo u on J un e 1 3t h; i s t ha t fa ir ?

    7            A.        Of f ic ia ll y, b ut I co nd uc te d t he s ea rc h

    8   w a r r a n t a t t he h ot el .       S o I 'm j us t t hi nk in g,

    9   l i k e , l og is t ic al ly , yo u h av e th e vi c ti m, y ou r

  10    i n t e r v i ew in g t he v ic ti m a t th e -- a t t he

  11    p r e c i n c t.     I f I' m co nd uc t in g th e se a rc h wa rr an t

  12    a n d g e t ti ng th e re gi st ra t io n fo r th e h ot el a nd

  13    t h e n r e tu rn to t he p re ci n ct , th er e' s t he

  14    p r o b a b i li ty th at I w as w i th h er .

  15             I me an , I r em em be r b ei ng w it h h er i n th e --

  16    i n t h e in te r vi ew , so m ay b e I di dn 't fi ni sh i t al l

  17    w i t h h e r, c o nd uc t it f ro m t he b eg in n in g, b ut t he n

  18    w e i n t e rv ie w ed M r. J oh ns o n fo ll ow in g t ha t.

  19             Q.        An d d id y ou l ea r n th at E .M . h ad a ct ua ll y

  20    c h e c k e d i nt o t he h ot el ?

  21             A.        If it 's w ri tt en do wn s om ew h er e.      Le t' s

  22    see.      L et m e l oo k at t he bi g no te s.            T he c as e

  23    f i l e w o ul d t yp ic al ly h av e t he r eg is t ra ti on

  24    i n f o r m a ti on in i t, s o if it 's n ot w r it te n he re - -

  25    d o y o u ha ve th e ca se - - t he c as e fi l e?
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                                                                             Page 57
    1           Q.       Yo u h av e wh at I ha ve .

    2           A.       Ok a y.      Le t me c h ec k an d se e i f it 's

    3   w r i t t e n h er e .

    4           A.       So in t he i nv es t ig at io n su p pl em en ta l

    5   r e p o r t --

    6           Q.       Ca n y ou r ef er t o t he e xh ib i t nu mb er ,

    7   please?

    8           A.       Ye a h, D ef en da nt ' s Ex hi bi t 2 - -

    9           Q.       Uh - hu h.     (A ff ir m at iv e) .

  10            A.       -- on p ag e 61 3, th is s ay s - - it s ay s

  11    t h a t D e te ct i ve E dm on ds on re po rt ed t h at E .M . to ld

  12    her.      S o th i s se nt en ce a t t he b eg in n in g of t he

  13    v e r y l a st p a ra gr ap h is w h en s he 's t e ll in g he r

  14    t h a t s h e re n te d a ro om w i th a n ID c a rd s he f ou nd .

  15            Q.       I' l l sh ow y ou w h at 's m ar ke d a s

  16    D e f e n d a nt 's Ex hi bi t 3.

  17            F o r th e p ur po se s of th is d ep os i ti on , do y ou

  18    r e c o g n i ze t h at a s th e fa k e ID t ha t w as u se d fo r

  19    h e r t o ch ec k i n?

  20                       ( De fe nd an t' s E xh ib it 3

  21                     wa s m ar ke d an d i de nt if ie d)

  22            A.       It do es n ot - - t hi s do es n o t jo g my

  23    memory.          It ' s no t fa mi li a r to m e, b u t if i t' s in

  24    t h e e v i de nc e f il e --

  25            Q.       Ok a y.
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    1           A.     -- th en t hi s wa s t he I D sh e h ad .

    2           Q.     An d d o yo u re ca l l ho w sh e w as d re ss ed

    3   w h e n y o u in t er vi ew ed h er ?

    4           A.     I d o no t.

    5           Q.     I w an t to s ho w y ou w ha t' s b ee n ma rk ed a s

    6   D e f e n d a nt 's Ex hi bi t 4.

    7           D o y ou re ca ll c on fi s ca ti ng t ha t o r

    8   r e t r i e v in g t ha t pi ct ur e o f he r du ri n g yo ur

    9   i n v e s t i ga ti o n?

  10                       ( De fe nd an t' s E xh ib it 4

  11                   wa s m ar ke d an d i de nt if ie d)

  12            A.     I d on 't - - I do n 't r em em be r , bu t if i t' s

  13    i n t h e fi le , t he n th is i s w ha t we o b ta in ed a t th e

  14    time.

  15            Q.     Ok a y.     Do y ou r e co gn iz e he r ?

  16            A.     I d on 't r ec og ni z e he r.

  17            Q.     Ha v e yo u ha d an y c on ta ct w i th h er s in ce

  18    t h i s c a se ?

  19            A.     No .

  20            Q.     Do yo u ha ve a ny id ea w ha t s he 's d oi ng

  21    now?

  22            A.     No .

  23            Q.     Do yo u kn ow h ow lo ng s he w a s at t he

  24    motel?

  25            A.     If it 's w ri tt en so me wh er e - - le t' s se e.
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                                                                        Page 59
    1   D e f e n d a nt 's Ex hi bi t 2, 6 1 3 in t he l a st p ar ag ra ph ,

    2   s h e t o l d De t ec ti ve E dm on d so n th at s h e ha d be en

    3   t h e r e f or t h e la st t wo d a ys .     I d on ' t ha ve t he

    4   h o t e l r eg is t ra ti on h er e - -

    5          Q.    No w - -

    6          A.    -- to c on fi rm .

    7          Q.    Bu t y ou d id l oo k a t th e su r ve il la nc e,

    8   correct?

    9          A.    Ye s .

  10           Q.    An d d id y ou l ea r n, i n fa ct , t ha t sh e ha d

  11    c h e c k e d i n w it h th is f ak e I D?

  12           A.    Sh e w ou ld n ot h a ve b ee n ab l e to c he ck i n

  13    a s a j u ve ni l e.

  14           Q.    Ok a y.     So d id y o u un de rs ta n d fr om t he

  15    h o t e l s ta ff th at s he u se d a f ak e ID ?

  16           A.    Th a t sh e us ed a n I D, y es .

  17           Q.    We l l, w ou ld i t h av e be en - - i f it

  18    r e f l e c t ed h e r co rr ec t ag e , th en s he co ul d no t

  19    h a v e c h ec ke d i n --

  20           A.    Ri g ht .

  21           Q.    -- is t ha t yo ur te st im on y?

  22           A.    Ye s .

  23           Q.    Ok a y.     So I b el i ev e -- a nd yo u ca n ta ke

  24    a l o o k , I k n ow I j us t as k ed y ou h ow lo ng s he w as

  25    there.
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                                                                          Page 60
    1            I t l oo k s li ke s he c h ec ke d in t h e af te rn oo n

    2   o f J u n e 8 th of 2 01 7, a nd th en , of c o ur se , th e

    3   p o l i c e re sp o nd ed o n Ju ne 17 th .      S o i s it f ai r to

    4   s a y s h e w as at t hi s po li c e -- o r at th is h ot el

    5   f o r l e s s th a n 24 h ou rs ?

    6            A.     Ju n e 9t h, y es .    Ju ne 9 th i s w he n th e

    7   i n v e s t i ga ti o n be ga n wi th VI CE .

    8            Q.     So ar e yo u aw ar e t ha t Ju ne -- w el l, w he n

    9   t h e V I C E of f ic er c am e on Ju ne 9 th , w as t ha t he r

  10    f i r s t d at e?

  11             A.     If th at 's - - if th at 's w ha t t he

  12    r e g i s t r at io n s ho ws , th en ye s.

  13             Q.     Ok a y.     An d th at wo ul d ha ve be en o n Ju ne

  14    9th?

  15             A.     I d on 't k no w th a t wa s -- i f i t wa s he r

  16    f i r s t d at e.     D o yo u me an , l ik e, t he fi rs t da te

  17    t h a t s h e -- li ke , th e fi r st n ig ht t h at s he w as

  18    t h e r e , or t h e fi rs t --

  19             Q.     We l l --

  20             A.     -- pe rs on w ho c a me t o he r?

  21             Q.     Th e f ir st p er so n t ha t ca me to h er o n th e

  22    9th.

  23             A.     I d on 't t hi nk t h at w as h er te st im on y to

  24    D e t e c t i ve E d mo nd so n.   I t hi nk I s aw it h er e

  25    s o m e w h e re .
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                                                                            Page 61
    1           Q.    I b el ie ve , an d c or re ct m e i f I' m wr on g,

    2   t h a t s h e ma y h av e sa id s h e ha d fi ve da te s on t he

    3   d a y b e f or e, Ju ne 8 th .

    4           A.    Ok a y.

    5           Q.    An d p le as e -- I ' m as ki ng y o u, s o pl ea se

    6   r e v i e w th is .      I me an , th i s --

    7           A.    Th a t' s fi ne .

    8           Q.    I u nd er st an d.        W he n wa s th e l as t ti me

    9   y o u l o o ke d a t yo ur - - at th es e re po r ts ?

  10            A.    I d on 't k no w.         I t' s be en a wh il e -- a

  11    while.       L et ' s se e.       Wh at wa s yo ur q u es ti on ?

  12            Q.    Ho w m an y da te s d id - -

  13            A.    Da t es ?      L ik e, v i si to rs h ad sh e ha d?

  14            Q.    -- sh e ha ve t he da y be fo re ?            Ye s, t he

  15    d a y b e f or e.

  16            A.    Le t 's s ee .       I d o n' t kn ow w h er e it i s.

  17    L e t ' s s ee .      I th ou gh t I s aw f iv e so m ew he re , bu t I

  18    d o n ' t r em em b er e xa ct ly w h ic h pa ge i t w as o n.

  19            Q.    Ye a h.       My r ec ol l ec ti on w as fi ve , bu t

  20    i f - - o n th e d ay b ef or e, wh ic h wo ul d h av e be en

  21    J u n e 8 t h of 20 17 , so - -

  22                       M S . HU ND RE DM AR K :   6 13 , pa g e 61 3.

  23    B Y M S . GI BS O N:

  24            Q.    An d I d on 't r ec a ll i f th at wa s yo ur

  25    e x h i b i t o r - - I me an , yo u r re po rt o r t he i ni ti al
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                                                                         Page 64
    1   a s s o c i a te d w it h th at c as e ?

    2           A.    I b el ie ve t ha t w as a V IC E o pe ra ti on a s

    3   w e l l , a n un d er co ve r op er a ti on t ha t t he y

    4   c o n d u c t ed , w he re t he y re s po nd ed t o a n

    5   a d v e r t i se me n t an d lo ca te d t hi s mi no r .

    6           Q.    So if I t ol d yo u t hi s oc cu r re d -- o r th e

    7   a l l e g a t io ns ar e th is o cc u rr ed i n 20 1 5; d oe s th at

    8   sound --

    9           A.    Th e t im e pe ri od , y es .

  10            Q.    Ok a y.   An d do y o u re ca ll t h e

  11    c i r c u m s ta nc e s of t he V IC E i nv es ti ga t io n?

  12            A.    No t e xa ct ly .    T h ey w ou ld h a ve c al le d us

  13    b e c a u s e t he y h ad a - - so m eo ne t ha t t he y be li ev ed

  14    t o b e a m in o r, h ad i de nt i fi ed a s a m in or .

  15            Q.    An d d o yo u kn ow wh o he r tr a ff ic ke r wa s?

  16            A.    Sh e h ad a n ol de r s is te r wh o w as - - wh o

  17    w a s a r r es te d .

  18            Q.    Ok a y.   An d do y o u re ca ll t h e na me ?

  19            A.    No , I d on 't r ec a ll h er n am e .

  20            Q.    Ok a y.   Do y ou r e ca ll - -

  21            A.    I b el ie ve i t st a rt ed w it h a n S.

  22            Q.    Ok a y.

  23            A.    Th e re w as a D , a nd t he re w a s an S .            I

  24    t h i n k t he s i st er s we re S ' s.

  25            Q.    Te l l me w ha t yo u r ec al l ab o ut D .H .
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                                                                              Page 65
    1           A.     Sh e l oo ke d -- s h e lo ok ed y o un g.         I

    2   r e m e m b e r he r d em ea no r, t h at s he w as , l ik e, n ew t o

    3   it.     Y o u kn o w, s he w as d o in g -- l ik e , wh en s he

    4   s p o k e , sh e w as d oi ng w ha t h er s is te r s to ld h er .

    5   H e r s i s te rs we re t ea ch in g h er h ow t o d o th is ,

    6   t h a t t h is w a s he r, l ik e, fi rs t ex pe r ie nc e in t hi s

    7   t y p e o f a ct i vi ty , I me an , t he s et ti n g up o nl in e

    8   a n d h a v in g p eo pl e co me t o y ou f or s e x.

    9           Q.     An d w hy i s it t h at y ou m ad e t ha t

  10    c o n c l u s io n?

  11            A.     Be c au se I r em em b er s pe ak in g t o he r an d

  12    h e r t a l ki ng ab ou t, l ik e, wh er e sh e g ot t hi s fr om ,

  13    t h e f a c t th a t sh e wa s wi t h he r si st e rs .

  14            Q.     An d w he n yo u te s ti fi ed t ha t s he l oo ke d

  15    y o u n g , wh at di d yo u me an by t ha t?

  16            A.     I d on 't r em em be r e xa ct ly w h at h er f ac e

  17    l o o k e d li ke , b ut I r em em b er t hi nk in g t ha t sh e ha d

  18    a b a b y fa ce , a nd I r em em b er h er - - l ik e, h er

  19    b e i n g t ea rf u l wh en s he w a s ju st k in d o f -- l ik e I

  20    j u s t - - I d o n' t re al ly - - l ik e, l ik e I d on 't d o,

  21    y o u k n o w, l i ke i t' s so m a ny .        I j us t d on 't k no w

  22    a n d , l i ke , r ec og ni zi ng t h at s he w as a ch il d.

  23            Q.     Do yo u re ca ll h o w sh e wa s d re ss ed ?

  24            A.     No t e xa ct ly .       I th in k sh e w as i n sh or ts .

  25    I s a y t ha t, be ca us e I th i nk s he w as ta ll er .
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                                                                     Page 67
  1          Q.    Do you remember what happened to them?

  2          A.    I know they were charged.                I don't know

  3    what happened to them.

  4          Q.    Okay.     Do you know if she was

  5    cooperative with the investigation -- well, let's

  6    say, the prosecution?

  7          A.    I don't know if she was cooperative with

  8    the prosecution.

  9          Q.    Was she cooperative with you?

10           A.    She was cooperative.            I mean, I don't

11     recall her being friendly or especially outgoing

12     or anything like that.             We got the information we

13     needed to make an arrest.

14           Q.    Do you recall how old she was?

15           A.    She was 15, I believe.

16           Q.    15?

17           A.    Uh-huh.     (Affirmative).

18           Q.    And what happened to her as a result of

19     this investigation?

20           A.    I know she was placed at Wellsprings.                    I

21     don't know how long she stayed there.

22     Wellsprings -- well, it's a -- like, a

23     residential facility, so if it's an option, I

24     believe that kids can stay there, unless some

25     other, you know, family member or something like
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  1          Q.    In    your Declaration --

  2          A.    Uh-huh.      (Affirmative)

  3          Q.    -- you state, and I'm looking

  4    specifically at           well, let's look at paragraph

  5    6, please, which is on page 2.

  6          A.    Uh-huh.      (Affirmative)

  7          Q.    In    your Declaration, you stated you

  8    investigated numerous sex trafficking cases at

  9   the Super 8 and America's Best Value Inn.

10           Tell me again how many cases that was.

11           A.    Overall in DeKalb?

12           Q.    No.     Specifically --

13           A.    Just at that those two?

14           Q.    Yes.

15           A.    I don't know specifically those two

16     The two that we're here for today were brought to

17     my attention, and I recall things about them.

18     There is, like, one other case that stands out to

19     me.

20           Q.    Okay.     And when      you say brought to         your

21     attention, who brought those to your attention?

22           A.    The attorneys that represent the

23     victims.

24           Q.    So based on      your testimony, is it fair

25    to say that you investigated three sex




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                                                                      Page 82
  1   trafficking cases at this hotel?

  2            A.   That I remember, because they're

  3    significant in some way, yes.

  4            Q.   Well, if you had investigated them and

  5    had written police reports, we should be able to

  6   find those, correct?

  7            A.   Yeah.

  8            Q.   Okay.     So the time frame for these

  9    investigations, for at least the three, would

10     have been, what, 2015 until when?

11             A.   September 2017.

12             Q.   Okay.     So number 7, paragraph number 7,

13     you state, the reputation of the hotel and the

14     police department was a motel where commercial

15     sex and traffic and drugs were constant

16     occurrences, and it was a problem area in DeKalb.

17             First of all, were there other areas in

18     DeKalb that you would say also fit as a problem

19     area?

20             A.   Yes.

21             Q.   What other areas?

22             A.   There is an area off Candler Road.

23             Q.   Okay.

24             A.   There's an area near               off Covington

25     Highway.




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                                                                          Page 91
    1           A.    Ye a h, b ut d ri vi n g by i n an in st an t is

    2   d i f f e r e nt t h an , li ke , be i ng o n th e p ro pe rt y an d

    3   s e e i n g wh at ' s go in g on a t t he r oo m.

    4           Q.    We l l, a re y ou a w ar e of d ru g s be in g so ld

    5   o u t o f ho te l r oo ms t he re ?

    6           A.    Th e y co ul d be , s ur e.

    7           Q.    Ok a y.      Yo ur n ex t p ar ag ra ph , y ou s ay

    8   a l l o w i n g an y k in d co mm er c ia l, a nd s p ec if ic al ly

    9   12 --

  10            A.    Uh - hu h.     (A ff ir m at iv e) .

  11            Q.    -- al lo wi ng a ny ki nd o f co m me rc ia l se x

  12    o n t h e pr op e rt y ru ns t he ri sk t ha t a p er so n wh o

  13    i s n o t 18 y e ar s ol d is b e in g so ld f o r se x, a nd

  14    t h e p r o pe rt y i s th en f os t er in g se x t ra ff ic ki ng .

  15            W h at d o y ou b as e th i s st at em en t o n?

  16            A.    Th i s wo rd in g is a li tt le f u nn y, b ut

  17    s o m e o n e u nd e r th e ag e of 18 .       S o wi t h th at t ea m,

  18    l i k e , f re qu e nt v is it or s b ei ng a f la g f or

  19    c o m m e r c ia l s ex t ra ff ic ki n g.   Be ca us e i t is v er y

  20    clear.

  21            T h e pr o pe rt y -- t he pr op er ty m a na ge rs , th e

  22    s t a f f w ho a r e th er e ar e g oi ng t o be aw ar e of

  23    w h a t ' s go in g o n, a nd e ve n i f th ey d o n' t kn ow t ha t

  24    t h e r e i s se x h ap pe ni ng i n t he r oo m, th ey k no w

  25    t h a t t h is w o ma n is h er e b y he rs el f, yo u kn ow ,
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                                                                           Page 92
    1   w h e r e t he re ' s a nu mb er o f p eo pl e go i ng i n an d

    2   o u t , o r t ha t t hi s wo ma n i s he re w it h a m al e

    3   s u b j e c t w ho is - - wh o is in a nd t he n o ut w he n th e

    4   v i s i t o r s co m e, o r in w hi l e th e vi si t or s co me ,

    5   b e c a u s e t he y 'r e hi di ng s o me wh er e el s e wh il e

    6   t h e - - wh il e t he a ct s ha p pe n.

    7            B u t th e p eo pl e wh o a re o n th e p ro pe rt y ar e

    8   g o i n g t o kn o w.     Th ey 'r e g oi ng t o kn o w it 's

    9   h a p p e n i ng .   It 's t ha t ob v io us .   T he y 'r e go in g to

  10    s e e t h e n um b er o f vi si to r s th at a re -- t ha t ar e

  11    c o m i n g in a n d ou t.

  12             Q.     An d y ou b as e th i s ju st o n w ha t yo u th in k

  13    t h e y s h ou ld kn ow o r ba se d o n --

  14             A.     Ju s t be ca us e I t hi nk i t' s - - I th in k it

  15    i s c o m m on f o r an yb od y wh o i s wo rk in g a t a

  16    l o c a t i o n to no ti ce w he n t he re i s mo r e th an n or ma l

  17    f o o t t r af fi c i n a pa rt ic u la r ar ea .

  18             Q.     Di d y ou h av e an y i nf or ma ti o n th at t he re

  19    w a s a n y on e a t th e ho te l a ss oc ia te d w it h se x

  20    t r a f f i c ki ng , a ny bo dy w ho --

  21             A.     Pr i or t o wh at ?

  22             Q.     -- wo rk ed o r ow n ed o r ma na g ed b et we en

  23    2 0 1 5 a n d 20 1 7?

  24             A.     Di d I h av e in fo r ma ti on t ha t a ny on e at

  25    t h e h o t el k n ew ?
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  1           Q.   No.    Anyone was involved in sex

  2   trafficking and prostitution, or prostitution, at

  3   the hotel?

  4           A.   Did I have -- did I have knowledge that

  5   there was prostitution

  6           Q.   No.

  7           A.   -- at a hotel?         Okay.

  8           Q.   Did you have any knowledge that anyone

  9    associate with the hotel manager, employee --

10            A.   Right.

11            Q.   -- anyone who worked there was actually

12     involved in sex trafficking?               Leave it at that.

13            A.   So I'm not aware that any staff was

14     having sex with anyone or recruiting anyone at

15    the location, but part of the legal definition

16     is, like, harboring or maintaining somebody, and

17     if they're utilizing the property and are aware

18    that that's happening, and aware I mean like, by

19    the obvious traffic that's coming in and out of

20    the location, then they -- and they can just call

21     911.    It's just that easy.          They don't even have

22    to say anything else, hey, I think something's

23     going on here.

24            Q.   Well, I understand --

25            A.   I don't have any knowledge that they --




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                                                                          Page 94
    1   t h a t t h ey - - t ha t th ey k n ew w ha t wa s g oi ng o n,

    2   b u t I k no w, ba se d on t he vi ct im s an d t he

    3   f r e q u e n cy o f d at es t ha t t he y' re h av i ng a t th es e

    4   l o c a t i o ns , y ou k no w, l ik e t he o ne g i rl h ad 1 5 to

    5   2 0 i n a d ay .        Th at i s go i ng t o st an d o ut .     T ha t' s

    6   g o i n g t o st a nd o ut a nd b e o bv io us .

    7           Q.    Bu t t he se a re t w o vi ct im s t ha t yo u kn ew

    8   a b o u t a t th i s ho te l be tw e en 2 01 5 --

    9           A.    Th e se a re t wo .

  10            Q.    -- an d 20 17 , co r re ct ?

  11            A.    Th e se a re t wo , b ut i f yo u - - if y ou c an

  12    f i n d o t he r o ne s, t he n th e y wo ul d -- th ey m ig ht b e

  13    f a m i l i a r to me , to o.      I r em em be r -- I re me mb er

  14    o n e , b e ca us e o f th e ci rc u ms ta nc es a n d th e gu y,

  15    a n d I r em em b er t he o th er , b ec au se i t w as h er

  16    s i s t e r s w ho we re t he t ra f fi ck er s.

  17            Q.    Ok a y.

  18            A.    So th os e st an d o ut t o me , b ut t he

  19    p a t t e r n o f s om eo ne b ei ng in a h ot el an d ge tt in g

  20    d a t e s a nd p r ob ab ly h av in g s om eo ne e l se , a pi mp o r

  21    s o m e b o d y, i s l ik e st an da r d, l ik e, t h is i s ho w

  22    i t ' s s e t up .

  23            Q.    An d I 'm a sk in g y ou , wh at y o ur p er so na l

  24    k n o w l e d ge i s - -

  25            A.    Uh - hu h.     (A ff ir m at iv e) .
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                                                                        Page 106
    1   r e s e a r c h th a t ba ck s th at up o r tr ai n in g th at y ou

    2   c a n r e c al l t ha t sa ys j us t t ha t?

    3           A.       No , n ot t ha t sa y s ju st t ha t .

    4           Q.       Ok a y.

    5           A.       Bu t I h av e tr ai n in g on t he co mm er ci al

    6   s e x a s p ec t a nd o n Ge or gi a l aw a nd w h y -- a nd i t' s

    7   n o t s o sp ec i fi c an d fi ni t e.       It 's b r oa d in t ho se

    8   w a y s t o c ov e r an yo ne w ho ' s go in g to be , we ll , I

    9   d i d n ' t to uc h h er , bu t I d ro ve h er t o a ll t he

  10    d a t e s , or I di dn 't - - I d id n' t to uc h h er , bu t sh e

  11    a l w a y s di d i t at m y ho us e .      S he a lw a ys w or ke d at

  12    m y h o u s e.     I t' s th e sa me th in g fo r t he se

  13    c o m m e r c ia l p ro pe rt ie s.

  14            I f y ou ca n -- i f yo u c an s ee w h at 's g oi ng

  15    o n , y o u h av e a r es po ns ib i li ty t o ac t , an d th at 's

  16    w h a t I ' m sa y in g.     If y ou al lo w th e c om me rc ia l se x

  17    t o h a p p en a n d th in k, o ka y , we ll , it ' s ju st a du lt s

  18    d o i n g w ha t t he y wa nt t o d o, t he n th a t' s fi ne , yo u

  19    a r e c r e at in g a s pa ce f or ju ve ni le s t o th en b e

  20    v i c t i m i ze d i f it 's a k no w n ar ea t ha t y ou c an d o

  21    t h i s - - t ha t y ou c an d o t hi s.

  22            S o t he tr ai ni ng r ef e re nc in g ju s t se x

  23    t r a f f i c ki ng or c om me rc ia l s ex t ra de is g oi ng t o

  24    c o v e r t he b a se s of n um be r 1 2 or w he r ev er y ou a re ,

  25    a n d t h e l aw is g oi ng c ov e r th e ot he r a sp ec t, t he
